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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )       Case No. 1:97-cr-00006-AJT
                                             )
DERRICK VINCENT REDD,                        )
                                             )
               Defendant.                    )
                                             )

                                 MEMORANDUM OPINION

       In late 1996, Defendant Derrick Vincent Redd robbed three banks and aborted an attempt

to rob a fourth. Three of these incidents occurred on one day, within a time span of

approximately 45 minutes. He obtained a total of approximately $5,000. Mr. Redd was charged

with seven offenses, four based on the bank robberies themselves and three based on his

possessing a gun in connection with the three banks he actually robbed. After pleading guilty to

or being found guilty on all charges, Mr. Redd was sentenced to total of 603 months of

imprisonment, or 50.25 years, consisting of 63 months for the robberies, the then pre-Booker

mandatory guideline sentence and 540 months, or 45 years, for his carrying a gun during the

three robberies, the then-applicable mandatory sentence imposed under 18 U.S.C. § 924(c). He

began serving that sentence in 1997 at age 41 and now, at 64 years old, has served over 23 years

of that sentence. With good time credits, he will be released from prison in 2040 at age 84, after

serving almost 43 years.

       In December 2018, Congress enacted THE FIRST STEP ACT of 2018, Publ. L. No. 115-

291, 132 Stat. 5194 (“the First Step Act”). Under the First Step Act, the mandatory minimum

sentences for convictions under 18 U.S.C. § 924(c) were reduced for sentences imposed after the



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passage of the First Step Act. Had Mr. Redd been sentenced under these reduced penalties, he

would have received a sentence of fifteen, as opposed to 45, years with respect to his three §

924(c) convictions. The First Step Act also authorized courts, without the Bureau of Prison’s

motion, as previously required, to reduce sentences for “extraordinary and compelling reasons”

once a defendant exhausts his administrative appeals to the Bureau of Prisons (“BOP”). On

August 16, 2019, Mr. Redd applied to the warden of his facility for a sentence reduction based

on extraordinary and compelling circumstances; and he has exhausted his administrative

remedies, as required under the First Step Act. 1

         On October 9, 2019, Mr. Redd filed in this Court a Notice of Motion by Defendant Derek

Vincent Redd To Reduce Sentence Pursuant To 18 U.S.C. §3582(c)(1)(A)(i) [Doc. 299] (“the

Motion”), together with a supporting Memorandum of Law [Doc. 300], by which he seeks,

pursuant to the First Step Act, to reduce his 603-month sentence to time served based on

“extraordinary and compelling reasons.” [Doc. 299] (the “Motion”). The Government objects to

the Motion on multiple grounds. For the reasons discussed below, the Motion is GRANTED.

                                            I. BACKGROUND

                                                      A.

         At approximately 6:50 p.m. on November 8, 1996, Mr. Redd entered a Virginia First

Savings Bank located in Lake Ridge, Virginia where he approached a bank teller and instructed

her, with a gun in his hand, to give him money. [Presentence Investigation Report dated



1
  The warden did not act on Mr. Redd’s application within the designated thirty day period. However, on October
17, 2019, eight days after Mr. Redd properly-filed the Motion and over two months, the acting warden at Mr. Redd’s
facility denied his request on the grounds that his “non-medical circumstances are not extraordinary or compelling . .
. [and] your release would minimize the severity of your offenses.” [Doc. 311, Ex. 1]. Mr. Redd has also requested,
on two separate occasions, that the United States Attorney for the Eastern District of Virginia vacate at least one of
his § 924(c) convictions in its discretion, as it is authorized to do under Federal Rule of Criminal Procedure 48. The
United States Attorney denied those requests.

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December 12, 1997 (“PSR”) at 3]. It is unknown precisely how much money Mr. Redd stole on

this occasion.

       A little over one month later, on December 10, 1996, at approximately 11:00 a.m., Mr.

Redd entered a First Virginia Bank in Woodbridge, Virginia, approached the teller, and

presented a note demanding money. He displayed a black revolver and gave the teller a brown

plastic bag in which to place the money. The teller then gave Mr. Redd approximately

$1,497.00, along with a red dye-pack. Upon receiving the cash, Mr. Redd left the bank. Shortly

after leaving the premises, the dye-pack activated. PSR at 3.

       Fifteen minutes later that same day, at approximately 11:15 a.m., Mr. Redd entered a

Crestar Bank, also in Woodbridge, Virginia. While there, he approached the teller, placing a

dark glove, a tan plastic bag, and a note on the teller counter while keeping his right hand in his

pocket in a manner reported to cause the teller to believe he may have a gun. However, before

the teller could act, Mr. Redd left the bank. PSR at 3-4.

       Fifteen minutes later, at approximately 11:30 a.m., Mr. Redd entered another Virginia

First Savings Bank branch located in Woodbridge, Virginia, approached a teller at the bank,

displayed a black revolver, and placed a threatening note along with a dark glove on the teller

counter that demanded money. The teller then placed approximately $2,104.00 in a brown

plastic bag and handed the bag to Mr. Redd, who then exited the premises. PSR at 4. In total, the

impacted banks lost approximately $5,465.00 as a result of Mr. Redd’s robberies. PSR at 5. No

one was physically harmed.

       Two days later, on December 12, 1996, the Prince William County Police Department

received information that the alleged robber was Mr. Redd, which the police later verified

through bank surveillance cameras. PSR at 4. On the same day, the police executed a search



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warrant on Mr. Redd’s residence in Lake Ridge, Virginia. Id. at 4-5. On January 7, 1997, Mr.

Redd was indicted in connection with this string of robberies in a seven-count indictment, which

charged: (1) three counts of bank robbery in violation of 18 U.S.C. §§ 2113(a) and (d); (2) one

count of attempted bank robbery in violation of 18 U.S.C. § 2113(a); and (3) three counts of

using a firearm during a crime of violence in violation of 18 U.S.C. § 924(c). [Doc. 7].

       Pursuant to a Plea Agreement [Doc. 24], Mr. Redd pled guilty to one count of bank

robbery and two of the three § 924(c) counts, with the Government dropping the remaining

charges and recommending a sentence of a 340 months, or 28.33 years, consisting of 40 months

on the one bank robbery count, and a total of 25 years on the two § 924(c) counts, five years for

the first and 20 years for the second. However, on August 8, 1997, before sentencing and over

the Government’s objection, this Court permitted Mr. Redd to withdraw his guilty plea as to one

of the two § 924(c) counts, while retaining his plea as to the one bank robbery count and the one

§ 924(c) count. On August 22, 1997, this Court sentenced Mr. Redd to 40 months with respect

to the single bank robbery count and 60 months (a mandatory minimum) with respect to the one

§ 924(c) count, to run consecutively, for a total of 100 months, or 8.33 years. [Doc. 41].

       The Government then proceeded to trial on the (remaining) five counts initially charged

in Mr. Redd’s indictment. On November 4, 1997, after a one-day jury trial, a jury found Mr.

Redd guilty on all five counts [Doc. 58], and on December 12, 1997, Mr. Redd was sentenced to

63 months with respect to the remaining two bank robbery counts and the one attempted robbery

count (the low end of the then mandatory guideline sentence), to run concurrently with the

previously imposed 40 month sentence on the one bank robbery count; and 240 months on each

of the two remaining § 924(c) counts, to run consecutively to the previously-imposed 60 month §




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924(c) sentence and also to the sentences imposed on each of the other counts [Doc. 68]. In

total, Mr. Redd was sentenced to 603 months. Id.

         In December 2018, Congress passed the First Step Act. On October 9, 2019, Mr. Redd,

through counsel, filed the Motion. 2

         The First Step Act amended 18 U.S.C. § 924(c)(1)(C) such that the enhanced mandatory

minimum penalty for a second or any subsequent § 924(c) conviction, 20 years at the time of Mr.

Redd’s sentencing, but now 25 years, 3 applies only when an offender’s first conviction under §

924(c) was “final” when the subsequent violation was committed. First Step Act § 403(a) (as

codified at 18 U.S.C. § 924(c)(1)(C)). As a practical matter, an offender now faces a mandatory

five year consecutive sentence, rather than an enhanced 20 or 25 year sentence, for a second or

subsequent § 924(c) conviction when multiple § 924(c) offenses are charged in the same

indictment without a previous final § 924(c) conviction. However, the First Step Act did not

make this change retroactive; and the amendment does not automatically reduce the sentence

imposed on defendants, like Mr. Redd, who were sentenced before December 21, 2018, the First

Step Act’s effective date. 4 Rather, the First Step Act increased the opportunity for defendants to

obtain a reduction in their sentence based on an individualized consideration under designated

criteria.




2
  On November 1, 2019, the Government responded to the Motion [Doc. 311] and on November 12, 2019, Mr. Redd
filed a reply [Doc. 315]. On November 21, 2019, the Court held a hearing on the Motion [Doc. 317].
3
  See Act of Nov. 13, 1998, Pub. L. No. 105-386, 112 Stat. 3469.
4
  See First Step Act § 403(b) (“This section, and the amendments made by this section, shall apply to any offense
that was committed before the date of enactment of this Act, if a sentence for the offense has not been imposed as of
such date of enactment.”); see also United States v. Melvin, 777 F. App’x 652, 653 (4th Cir. 2019) (per curiam)
(“Although the First Step Act altered the circumstances under which 18 U.S.C. § 924(c) offenses are subject to
enhanced mandatory minimum sentences . . . Congress expressly limited the retroactivity of that provision to
offenses for which sentence was not yet imposed as of the First Step Act’s date of enactment . . . .”) (citations
omitted).

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         Under a section titled “Increasing the Use and Transparency of Compassionate Release,”

the First Step Act separately amended § 3582(c)(1)(A) to allow courts, in their discretion, to

modify criminal sentences upon a motion filed directly by a defendant, without the need for a

motion by the Director of the BOP, as previously required, provided the defendant has either

“fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility,” whichever occurs earlier. First Step Act § 603(b) (codified

at 18 U.S.C. § 3582(c)(1)(A)). Once a defendant satisfies this exhaustion requirement, a court

may reduce a sentence if it finds that “extraordinary and compelling reasons warrant such a

reduction,” “such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission,” and if the applicable 18 U.S.C. § 3553(a) factors merit a reduction. 18

U.S.C. § 3582(c)(1)(A). 5 See Dillon v. United States, 560 U.S. 817, 826-27 (2010) (“[T]he

statute [§ 3582(c)] thus establishes a two-step inquiry. A court must first determine that a

reduction is consistent with [applicable policy statements] before it may consider whether the

authorized reduction is warranted, either in whole or in part, according to the factors set forth

in § 3553(a).”).

                                               II. ANALYSIS

         Mr. Redd requests relief under § 18 U.S.C. § 3582(c)(1)(A)(i) based on “extraordinary

and compelling reasons.” 6 Motion at 1. That requested relief requires the Court to consider (1)



5
  18 U.S.C. § 3582(c)(1)(A)(ii) also authorizes a court to modify a term of imprisonment if “the defendant is at least
70 years of age, has served at least 30 years in prison, pursuant to a sentence imposed under section 3559(c), for the
offense or offenses for which the defendant is currently imprisoned, and a determination has been made by the
Director of the Bureau of Prisons that the defendant is not a danger to the safety of any other person or the
community, as provided under section 3142(g) . . . .” Mr. Redd does not contend that his sentence should be
reduced under this provision.
6
  18 U.S.C. § 3582(c)(1)(A)(i) provides in pertinent part:

                                                          6
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whether he has exhausted his administrative remedies; (2) if he has exhausted his administrative

remedies, whether there are extraordinary and compelling reasons that warrant a reduction in his

sentence; (3) if a warranted reduction exists, whether such a reduction is consistent with

applicable policy statements of the Sentencing Commission; and (4) if so, what sentence

reduction is appropriate after considering the applicable 18 U.S.C. § 3553(a) factors.

                                                     A.

       Mr. Redd has exhausted his administrative remedies and may seek relief in this Court

under the First Step Act. On August 16, 2019, Mr. Redd submitted a request to the records office

at his facility for a sentence reduction based on extraordinary and compelling circumstances with

respect to his excessive term of imprisonment and his extensive rehabilitation while incarcerated.

[Doc. 300 at 8]; see also [Doc. 301 (“Decl. of Ada Johnson”), Ex. 1]. The BOP did not act on

Mr. Redd’s request within thirty days and Mr. Redd therefore had standing to bring the Motion

under § 3582(c)(1)(A) when he filed the Motion on October 9, 2019.

                                                     B.

       Having exhausted his administrative remedies, as required, the Court must next consider

whether there are “extraordinary and compelling reasons” that justify a reduction to Mr. Redd’s

current sentence.




       The court may not modify a term of imprisonment once it has been imposed except that—(1) in any case—
       (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion of the defendant after
       the defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to
       bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the term of imprisonment (and may
       impose a term of probation or supervised release with or without conditions that does not exceed the
       unserved portion of the original term of imprisonment), after considering the factors set forth in section
       3553(a) to the extent that they are applicable, if it finds that—(i) extraordinary and compelling reasons
       warrant such a reduction . . . and that such a reduction is consistent with applicable policy statements issued
       by the Sentencing Commission.

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        The only Congressional or Sentencing Commission guidance concerning what would

constitute extraordinary and compelling reasons are those specific grounds set forth in 18 U.S.C.

§ 3582(c)(1)(A)(ii), U.S.S.G. § 1B.13 cmt. n.1(A)-(C), the legislative instruction in 28 U.S.C. §

994(t) that a defendant’s rehabilitation, standing alone, cannot be grounds for granting a

reduction in sentence under § 3582(c), and the Sentencing Commission’s statement that

extraordinary and compelling reasons “need not have been unforeseen at the time of sentencing,”

U.S.S.G. § 1B1.13 cmt. n.2. However, these pronouncements do not define the universe of

considerations; and neither the First Step Act nor any other Congressional or Sentencing

Commission statements or enactments provide any significant guidance on what reasons, other

than those specifically mentioned, may qualify as extraordinary and compelling. 7

        Mr. Redd does not assert that his circumstances are “extraordinary and compelling”

based on any expressly-referenced substantive grounds in any statute or in the Sentencing

Guidelines. Rather, Mr. Redd requests that the Court grant his request based on its determination

that other reasons exist, as the Director of the BOP is authorized to determine under U.S.S.G. §

1B1.13. At its core, Mr. Redd’s proffered reason is Congress’ dramatic reduction under the First

Step Act of the penalties he received on his three “stacked” § 924(c) convictions.

        In assessing whether Mr. Redd has presented extraordinary and compelling reasons, the

Court has initially and centrally considered the sentence he received relative to the sentence he

would now receive for the same offense, whether and to what extent there is a disparity between

the two sentences, and why that disparity exists. In that regard, the sentence Mr. Redd received

was in large part attributable to the then available prosecutorial practice of “stacking” § 924(c)


7
  “Extraordinary” is defined as “going beyond what is usual, regular, or customary; or exception to a very marked
extent,” Merriam-Webster Dictionary (2019), available at https://www.merriam-
webster.com/dictionary/extraordinary; and “compelling” is defined as “forceful; demanding attention; convincing,”
id., available at https://www.merriam-webster.com/dictionary/compelling.

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charges in the same indictment without a previous § 924(c) conviction, which resulted in a

mandatory minimum sentence of 540 months for his three § 924(c) convictions, to run

consecutive to his 63 month sentence for the bank robberies. As mentioned above, that sentence

is 30 years, or three times longer, than what Congress has now deemed an adequate punishment

for comparable § 924(c) conduct; 8 and it is 20 years longer than what the Government at the time

thought was an adequate punishment under § 924(c), as reflected in its plea offer. That sentence

is also decades longer than sentences imposed on average for offenses at least as, if not more,

serious than his offenses. 9 Given that he was sentenced pre-Booker, even his sentence for the

robberies themselves could be lower today than the 63 months he received. See Dean v. United

States, 137 S. Ct. 1170, 1177 (2017) (holding that, post-Booker, “nothing in [§ 924(c)] prevents a

sentencing court from considering a mandatory minimum under § 924(c) when calculating an

appropriate sentence for the predicate offense,” which can justify a below-guidelines sentence).

         There is no doubt that there is a gross disparity between the sentence Mr. Redd received

and the sentence he would have received after the First Step Act. See United States v. Urkevich,

2019 U.S. Dist. LEXIS 197408, at *8, 2019 WL 6037391 (D. Neb. Nov. 14, 2019) (“A reduction



8
  Because these consecutive § 924(c) sentences are mandated by statute, the guideline sentence today for Mr. Redd’s
§ 924(c) offenses would similarly be limited to those statutory limits, see U.S.S.G. § 5G1.1, and therefore be
substantially lower than his guideline sentence in 1997, a development that has been recognized in legislative history
as a potentially available basis for relief. See S. Rep. No. 98-225, at 55-56 (Aug. 4, 1983) (“The [Senate Judiciary]
Committee believes that there may be unusual cases in which an eventual reduction in the length of a term of
imprisonment is justified by changed circumstances. These would include cases of severe illness, cases in which
other extraordinary and compelling circumstances justify a reduction of an unusually long sentence, and some cases
in which the sentencing guidelines for the offense of which the defend[ant] was convicted have been later amended
to provide a shorter term of imprisonment.”) (emphasis added).
9
  In FY 1997, the average sentence imposed for defendants (with criminal history Category II) for murder was 190
months; for kidnapping, 186 months; and for manslaughter, 38 months. See United States Sentencing Commission,
Sourcebook of Federal Sentencing Statistics, Table 14: Average Length of Imprisonment for Offenders in Each
Criminal History Category by Primary Offense Category, Fiscal Year 1997, available at
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-
sourcebooks/1997/TABLE14 0.pdf.

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in [defendant’s] sentence is warranted by extraordinary and compelling reasons, specifically the

injustice of facing a term of incarceration forty years longer than Congress now deems warranted

for the crimes committed.”). That disparity is primarily the result of Congress’ conclusion that

sentences like Mr. Redd’s are unfair and unnecessary, in effect, a legislative rejection of the need

to impose sentences under § 924(c), as originally enacted, 10 as well as a legislative declaration of

what level of punishment is adequate. These are, the Court finds, extraordinary and compelling

developments that constitute extraordinary and compelling reasons that warrant a reduction to

Mr. Redd’s sentence of incarceration.

                                                     C.

        Having determined that there are extraordinary and compelling reasons that warrant a

reduction in sentence, the Court next considers whether such a reduction is “consistent with

applicable policy statements.” 18 U.S.C. § 3582(c)(1)(A).

        Congress directed the Sentencing Commission to promulgate policy statements “that

describe what should be considered extraordinary and compelling reasons for a sentence

reduction [under 18 U.S.C. § 3582(C)(1)(A)], including the criteria to be applied and a list of

specific examples[,]” restricting the Commission only to the extent that “rehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason. See 28 U.S.C.

§§ 994(a)(2)(C) and (t). The Sentencing Commission did so in U.S.S.G. § 1B1.13; and the

Government contends that in assessing whether there exists a qualifying “extraordinary and

compelling reason,” the Court is limited to determining whether there exist one of the three

specific circumstances that qualify as “extraordinary and compelling” under U.S.S.G. § 1B1.13



10
  In Deal v. United States, 508 U.S. 129, 136-37 (1993), the Supreme Court held that the text of § 924(c) required
the imposition of enhanced consecutive sentences on multiple § 924(c) convictions obtained in a single indictment,
even where there was no prior, final § 924(c) conviction, as in Mr. Redd’s case.

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cmt. n.1(A)-(C) (viz., a defendant’s medical condition, health and age, or family exigency) and

may not rely on the catch-all category, located in Application Note 1(D), labeled “Other

Reasons,” which permits a court to modify a defendant’s sentence if, “[a]s determined by the

Director of the Bureau of Prisons, there exists in the defendant’s case an extraordinary and

compelling reason other than, or in combination with, the reasons described in subdivisions (A)

through (C),” id., cmt. n.1(D). [Doc. 311 at 7-10]. Since Mr. Redd does not rely on reasons set

forth in subdivisions (A)-(C) and the BOP Director has not determined under subdivision (D)

that there are “other reasons,” the Government argues that the Court is precluded from finding

that there exists an extraordinary and compelling reason “consistent with the applicable policy

statement.” Id. The Court disagrees with the Government’s position.

        First, the Court concludes, as other courts have and as the Government has essentially

conceded in at least one case, that there does not currently exist, for the purposes of satisfying

the First Step Act’s “consistency” requirement, an “applicable policy statement.” 11 The only

possibly applicable policy statement with respect to such a reduction is U.S.S.G. § 1B1.13

(2018), which by its terms applies only to motions for compassionate release filed by the BOP

Director, not motions filed by defendants. 12 Second, even were U.S.S.G. § 1B1.13 the


11
   See, e.g., United States v. Beck, 2019 U.S. Dist. LEXIS 108542, 2019 WL 2716505, at *5 (M.D.N.C. June 28,
2019) (“There is no policy statement applicable to motions for compassionate release filed by defendants under the
First Step Act.”); United States v. Cantu, 2019 U.S. Dist. LEXIS 100923, at *9, 2019 WL 2498923 (S.D. Tex. June
17, 2019) (same); United States v. Young, 2020 U.S. Dist. LEXIS 37395, at * 6, 2020 WL 1047815 (M.D. Tenn.
Mar. 4, 2020)(“The government also concedes that, because the Sentencing Commission's policy statement ‘has not
been amended to reflect that, under the First Step Act, a defendant may now move for compassionate release after
exhausting administrative remedies,’ the existing policy statement, while providing ‘helpful guidance,’ ‘is not
ultimately conclusive given the statutory change.”) (citations omitted).
12
   U.S.S.G. § 1B1.13 was enacted before the First Step Act and remains unamended since the passage of the First
Step Act. In that regard, there are currently five vacancies on the Sentencing Commission and it does not have the
requisite number of members to enact any conforming amendments to U.S.S.G. § 1B1.13. See United States v.
Handerhan, 2019 U.S. Dist. LEXIS 55367, 2019 WL 1437903, at *1, n.4 (M.D. Pa. Apr. 1, 2019) (noting vacancies
and need for four members to pass amendments to the Sentencing Guidelines). Nevertheless, at least one court has
inferred that the Sentencing Commission would, in the wake of the First Step Act’s amendments to § 3582, permit

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applicable policy statement for the purpose of satisfying the consistency requirement, the

Government’s position fails to recognize and accommodate the effect the legislative amendments

under the First Step Act have necessarily had on U.S.S.G. § 1B1.13.

        The First Step was passed against the backdrop of a documented infrequency with which

the BOP filed motions for a sentence reduction on behalf of defendants. 13 And while the First

Step Act did preserve the BOP’s role relative to a sentence reduction in certain limited

respects, 14 it eliminated the BOP Director’s role as the exclusive channel through which a

sentence reduction could be considered by courts. Indeed, the First Step Act authorized courts to

act independently of the BOP Director, upon a defendant’s motion, once administrative remedies

are exhausted, reflecting the First Step Act’s legislative purpose and intent to expand the

opportunity for a defendant to seek review (and potentially a reduction) of his or her sentence. In

that regard, the First Step Act effectively amended U.S.S.G. § 1B1.13 by eliminating the

requirement that a sentence reduction under § 3582(c)(1)(A) be “upon motion of the Director of

Bureau of Prisons,” as U.S.S.G. § 1B1.13 requires. For this reason, any assessment of whether a

court acted “consistent” with U.S.S.G. § 1B1.13 based on reasons other than those specifically

mentioned in Application Notes 1(A)-(C) must consider the First Step Act’s effect on that policy

statement, and Application Note 1(D) in particular. See also 18 U.S.C. § 3553(a)(5) (any

“pertinent policy statement” is to be considered “subject to any amendments made to such policy


the use of Application Note 1(D) to reduce excessively long sentences without a determination by the BOP Director.
See Urkevich, 2019 U.S. Dist. LEXIS 197408, at *7.
13
   See Hearing on Compassionate Release and the Conditions of Supervision Before the U.S. Sentencing
Comm'n (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice) (noting that until 2013,
“only 24 inmates were released [on average] each year” under § 3582 on motion of the BOP, and between August
2013 and September 2014, that number increased to 83).
14
   For example, the BOP may still, on its own, raise motions for compassionate release on behalf of defendants, see
18 U.S.C. § 3582(c)(1)(A), and the BOP continues to be involved in determining whether a defendant, provided he
or she meets other conditions, is “a danger to the safety of any other person or the community, as provided under
section 3142(g),” see 18 U.S.C. § 3582(c)(1)(A)(ii).

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statement by act of Congress (regardless of whether such amendments have yet to be

incorporated by the Sentencing Commission into the amendments issued under section 994(p) of

title 28.”); Mistretta v. United States, 488 U.S. 361, 394 (1989) (Congress may “revoke or

amend” any of the Commission’s policy statements by statute at any time); Stinson v. United

States, 508 U.S. 36, 38 (1993) (“We decide that commentary in the Guidelines Manual that

interprets or explains a guideline is authoritative unless it violates the Constitution or a federal

statute, or is inconsistent with, or a plainly erroneous reading of, that guideline.”).

         Application Note 1(D)’s prefatory language, which requires a determination by the BOP

Director, is, in substance, part and parcel of the eliminated requirement that relief must be sought

by the BOP Director in the first instance, particularly since it would be unlikely that the BOP

Director would determine that an extraordinary and compelling reason exists under Application

Note 1(D) but then decline to file a motion for compassionate release based on that

determination. For these reasons, whether a court’s finding of a warranted sentence reduction

based on “other reasons” would be consistent with U.S.S.G. § 1B1.13 should be assessed based

on whether that finding would be consistent with those other reasons had they been presented to

the Court by the BOP Director as the basis for relief. 15 Important in that regard is that any

reason determined by the BOP Director to warrant a sentence reduction is, by virtue of the policy

statement, automatically “consistent” with that applicable policy statement. See U.S.S.G. §


15
   This position is further supported by other pronouncements of the Sentencing Commission before the passage of
the First Step Act, recognizing the ultimate role courts occupy relative to requests under § 3582. See U.S.S.G. §
1B1.13, cmt. n.4 (“The court is in a unique position to determine whether the circumstances warrant a reduction
(and, if so, the amount of reduction), after considering the factors set forth 18 U.S.C. § 3553(a) and the criteria set
forth in this policy statement, such as the defendant’s medical condition, the defendant’s family circumstances, and
whether the defendant is a danger to the safety of any other person or to the community.”) (emphasis added); See
also United States Sentencing Commission, Amendments to the Sentencing Guidelines 3, Apr. 28, 2016 (internal
quotations omitted) (noting, pre-First Step Act, that “[w]hile only the Director of the Bureau of Prisons has the
statutory authority to file a motion for compassionate release, the Commission finds that the court is in a unique
position to assess whether the circumstances exist.”).

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1B1.13, cmt. n. 5 (“Any reduction made pursuant to a motion by the Director of the Bureau of

Prisons for the reasons set forth in subdivisions (1) and (2) [of U.S.S.G. § 1B1.13] is consistent

with this policy statement.”). 16 Further, restricting the Court to those reasons set forth in

U.S.S.G. § 1B1.13 cmt. n.1(A)-(C), as the Government proposes, would effectively preserve to a

large extent the BOP’s role as the exclusive gatekeeper, which the First Step Act substantially

eliminated, as discussed above. 17

         For the above reasons, the Court joins other courts 18 in concluding that a court may find,

independent of any motion, determination or recommendation by the BOP Director, that

extraordinary and compelling reasons exist based on facts and circumstances other than those set

forth in U.S.S.G. § 1B1.13 cmt. n.1(A)-(C) and that the reasons it has determined in this case




16
   Reflective of the wide and sometimes anomalous discretion conferred upon the BOP Director regarding the
grounds for compassionate release, without constraint by the “consistency” requirement, is 28 C.F.R. § 571.60
(limiting “extraordinary and compelling circumstances” to those circumstances not foreseen at the time of
sentencing), which directly conflicts with U.S.S.G. § 1B1.13 n. 2 (permitting compassionate release for
circumstances foreseeable at the time of sentencing).
17
   To the extent that there is any ambiguity in § 3582(c)(1)(A), particularly as to whether the Court must still wait on
the BOP Director to determine “other reasons,” the doctrine of lenity applies since § 3582(c)(1)(A) pertains to
criminal penalties. See United States v. Cutler, 36 F.3d 406, 408 (4th Cir. 1994) (holding that rule of lenity may
apply to ambiguities found in the Sentencing Guidelines); United States v. Santos, 553 U.S. 507, 514 (2008)
(holding that where one possible interpretation of criminal statute is more “defendant-friendly” than the other, the
“rule of lenity dictates that [the defendant-friendly option] should be adopted.”).
18
   See, e.g., Young, 2020 U.S. Dist. LEXIS 37395; United States v. O’Bryan, 2020 WL 869475 (D. Kan. Feb. 21,
2020); United States v. Kepa Maumau, No. 08-cr-758-TC-11, 2020 U.S. Dist. LEXIS 28392, 2020 WL 806121 (D.
Utah Feb. 18, 2020); Urkevich, 2019 U.S. Dist. LEXIS 197408, at *7-9 (finding extraordinary and compelling
circumstances to exist under the “other reasons” catch-all, absent a determination by the BOP); United States v.
Brown, 2019 U.S. Dist. LEXIS 175424, at *2-10 (S.D. Iowa Oct. 8, 2019); United States v. Fox, 2019 U.S. Dist.
LEXIS 115388, at *7 (D. Me. July 11, 2019) (“That deference to the BOP no longer makes sense now that the First
Step Act has reduced the BOP’s role . . . [and] I treat the previous BOP discretion to identify other extraordinary and
compelling reasons as assigned now to the courts.”); United States v. Cantu-Rivera, 2019 WL 2578272, at *2 n.1
(S.D. Tex. June 24, 2019); Cantu, 2019 U.S. Dist. LEXIS 100923, at *13-14 (“[T]he correct interpretation of §
3582(c)(1)(A)—based on the text, statutory history and structure, and consideration of Congress’s ability to override
any of the Commission’s policy statements at any time, is that when a defendant brings a motion for a sentence
reduction under the amended provision, the Court can determine whether any extraordinary and compelling reasons
other than those delineated in U.S.S.G. § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”) (citations omitted).

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constitute extraordinary and compelling reasons warranting a sentence reduction satisfy any

requirement for consistency with any applicable policy statement.

                                                      D.

        Having found that there exists an extraordinary and compelling reason that warrants a

sentence reduction and that such a reduction is consistent with any applicable policy statement,

the Court must next “consider[] the factors set forth in section 3553(a) to the extent they are

applicable” to determine whether a reduced sentence is appropriate and if so, what that sentence

should be.

        Based on the § 3553(a) factors, the Court has considered the record pertaining to (1) Mr.

Redd’s sentence relative to the nature and seriousness of his offense; (2) his personal history and

characteristics; (3) the need for a sentence to reflect the seriousness of the offense, to promote

respect for the law, and to provide just punishment for the offense; (4) the need to afford

adequate deterrence; (5) the need to protect the public from further crimes of the defendant; (6)

the need to provide rehabilitative services; (7) the applicable guideline sentence; and (8) the need

to avoid unwarranted sentencing disparities among defendants with similar records found guilty

of similar conduct. See 18 U.S.C. § 3553(a)(1)-(6). 19 Importantly, these considerations are to be

assessed against the overarching principle that a sentence is to be sufficient, but not greater than

necessary, for these purposes. 18 U.S.C. § 3553(a).

        As to the nature and seriousness of his offenses relative to his sentence, Mr. Redd’s

offenses were undoubtedly serious, and his underlying offense conduct must be considered in

connection with his prospects for recidivism and his level of dangerousness to the public, were

he released. But that underlying offense conduct must also be considered relative to the sentence


19
  By Order dated February 10, 2020 [Doc. 320], the Court ordered Mr. Redd to supplement the record updating the
information filed with his Motion, which he did on March 11, 2020 [Doc. 326].

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he received and any reduced sentence he would receive. Mr. Redd’s already served 23 years has

consumed a large part of his life and by any measure represents a very substantial punishment

that reflects the seriousness of his offenses and the need for general or specific deterrence. It is

also a period of time that promotes respect for the law and provides just punishment for his

offenses.

        As to his personal characteristics, it appears from the available Presentence Reports that

Mr. Redd had a one point a promising future. A talented athlete, he attended college on an

athletic scholarship until he injured himself and his life appears to have spiraled downward ever

since. He has had bouts with alcohol and other substance abuse, all of which appear to no longer

be a factor. Prior to his 1996 conduct, Mr. Redd had a criminal history, but a relatively minor,

non-violent one, consisting of a 1978 conviction for burglary, criminal trespass, and criminal

conspiracy, for which he received a term of probation; a 1988 conviction for forgery, based on

falsifying his work attendance records, eight years before the robberies, for which he received a

term of probation; and an outstanding probation violation with respect to his 1988 forgery

conviction at the time of the robberies, which increased his criminal history for sentencing

purposes from Category I to Category II. See PSR at 21-22. And as discussed below, while

incarcerated, he has demonstrated personal characteristics that reflect positively on him and

substantial rehabilitation.

        With respect to the need to avoid unwarranted sentencing disparities, not only is Mr.

Redd’s sentence grossly disparate relative to what a defendant today would receive for

comparable conduct, it is now grossly disparate to the reduced § 924(c) sentence received




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pursuant to the First Step Act by an increasing number of defendants who were sentenced before

the passage of the First Step Act. 20

         The Government essentially argues that the unwarranted sentencing disparity factor must

be determined only with reference to those comparably situated defendants who were sentenced

at the time of Mr. Redd’s sentencing, not those being sentenced today under a different

sentencing structure. While Mr. Redd’s sentence in 1997 was not disparate relative to other

offenders who had been at that time sentenced for a comparable number of § 924(c) violations, 21

Mr. Redd is now, in effect, to be re-sentenced today, after the passage of the First Step Act; and

the need to avoid unwarranted sentencing disparities is to be assessed at the time of his

sentencing today relative to those comparable offenders who have been sentenced following the

passage of the First Step Act. Nor does the First Step Act’s lack of retroactivity justify



20
   As mentioned with respect to his original sentence in 1997, see supra. n.9, his original sentence is also
substantially longer than the average sentence imposed in recent years for at least as serious, if not more, serious
crimes. See United States Sentencing Commission, Statistical Information Packet, Fiscal Year 2018, Fourth Circuit,
available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-statistics/state-
district-circuit/2018/4c18.pdf. (in FY 2018, the average sentence in federal courts for murder was 291 months
nationally and 327 months in the Fourth Circuit; for kidnapping, 179 months nationally and 223 months in the
Fourth Circuit; for manslaughter, 65 months nationally and 26 months in the Fourth Circuit; and for robbery 106
months nationally and 130 months in the Fourth Circuit).
21
   The Court notes in this regard that before the First Step Act there may have been materially different charging
policies across districts regarding whether, when and to what extent to bring multiple § 924(c) charges. See Hearing
on Reevaluating the Effectives of the Federal Mandatory Minimum Sentences (Sep. 18, 2013) (statement of
Statement of Judge Patti Saris), available at https://www.judiciary.senate.gov/imo/media/doc/091813RecordSub-
Leahy.pdf (citing United States Sentencing Commission, Mandatory Minimum Penalties in the Federal Criminal
Justice System (October 2011) at 113-114, available at https://www.ussc.gov/research/congressional-reports/2011-
report-congress-mandatory-minimum-penalties-federal-criminal-justice-system). It is also worth noting that
statistically, persons convicted of three or more § 924(c) charges were, and remain, relatively small. For example, in
FY 2010, of the 2,294 offenders convicted of an offense under § 924(c), 93.6% were convicted of a single count and
147 or 6.4% were convicted of multiple counts, with the average sentence of 351 months for defendants convicted
of multiple accounts. See United States Sentencing Commission, Report to Congress: Mandatory Minimum
Penalties for Firearms Offenses, Chapter 9, pp. 269-293, available at
https://www.ussc.gov/sites/default/files/pdf/news/congressional-testimony-and-reports/mandatory-minimum-
penalties/20111031-rtc-pdf/Chapter 09.pdf. Similarly, in FY 2016, only 153 out of 1,976 § 924(c) offenders (or
7.7%) were convicted of multiple § 924(c) counts; and in FY 2017, only 124 out of 2,075 § 924(c) offenders (or
6.0%) were convicted of multiple § 924(c) counts. See United States Sentencing Quick Facts; Section 924(c)
Firearms Offenses (FY 2016, FY 2017), available at https://www.ussc.gov/research/quick-facts/quick-facts-archives.

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withholding sentencing relief given the overall purpose of the First Step Act amendments, which

expressly allowed for the possibility for a sentence reduction based on an individualized

assessment of the § 3553(a) factors and other criteria.

         The Court also finds, based on the applicable considerations, that at this point Mr. Redd

does not constitute a danger to the safety of others or the community. See 18 U.S.C. § 3142(g); 22

see also U.S.S.G. § 1B1.13(2) (requiring court to determine, prior to authorizing any reduction,

that “defendant is not a danger” as considered under 18 U.S.C. § 3142(g)). At age 64, he is

statistically unlikely to recidivate; 23 and while his criminal conduct involved a firearm, his

limited prior criminal history did not involve violence, and his conduct during his more than 20

years in prison is overwhelmingly positive and reflective of substantial rehabilitation. See [Doc.



22
  Section 3142(g) provides:
          (g) Factors to be considered.—The judicial officer shall, in determining whether there are conditions of
release that will reasonably assure the appearance of the person as required and the safety of any other person and
the community, take into account the available information concerning—
         (1) the nature and circumstances of the offense charged, including whether the offense is a crime of
violence, a violation of section 1591, a Federal crime of terrorism, or involves a minor victim or a controlled
substance, firearm, explosive, or destructive device;
         (2) the weight of the evidence against the person;
         (3) the history and characteristics of the person, including—
                  (A) the person’s character, physical and mental condition, family ties, employment, financial
         resources, length of residence in the community, community ties, past conduct, history relating to drug or
         alcohol abuse, criminal history, and record concerning appearance at court proceedings; and
                   (B) whether, at the time of the current offense or arrest, the person was on probation, on parole, or
         on other release pending trial, sentencing, appeal, or completion of sentence for an offense under Federal,
         State, or local law; and
         (4) the nature and seriousness of the danger to any person or the community that would be posed by the
person’s release.
23
  See also United States Sentencing Commission, The Effects of Aging on Recidivism Among Federal Offenders, p.
30 (December 2017), available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20171207 Recidivism-Age.pdf (“Among offenders released younger than age 21, 67.6 percent
were rearrested compared to 13.4 percent of those released age 65 or older. The pattern is consistent across age
groups, as age increases recidivism by any measure declined. Older offenders who do recidivate do so later in the
follow-up period, do so less frequently, and had less serious recidivism offenses on average.”).

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326, Exs. 1 (work performance evaluations), 2 (Summary Reentry Plan – Progress Report, dated

February 12, 2020)]. Mr. Redd has had no major disciplinary infractions while incarcerated

(over 23 years) and since 2015, has been incident free. Id., Ex. 2. Moreover, Mr. Redd has

demonstrated a commitment to self-improvement, devoting hundreds of hours to vocational

programs, assisting others in their rehabilitative efforts, exhibiting solid work habits, caring for

mental health inmates, and in the process exceeding his supervisor’s expectations across most, if

not all, areas of work. Id., Exs. 3, 4. Likewise, since 2010, Mr. Redd has served as the head

orderly of the Laundry Detail at his facility, where he requires little to no supervision in

completing tasks. Id., Ex. 3. It also appears, as evidenced by the letters from his family, that he

has strong family ties and a stable plan upon his release, including a place to reside with his

aging mother and her husband and an open offer of employment from a security firm, should he

be released. Id., Ex. 5 (letter dated March 2, 2020 confirming Mr. Redd’s offer of employment),

Ex. 7 (letters from family members)].

       Based on all these considerations, the Court concludes that a reduction to 15 years, from

45 years, is warranted as to Mr. Redd’s three § 924(c) convictions; and the Court will so reduce

Mr. Redd’s sentence, all other terms and conditions of his original sentence to remain the same.

                                     III. CONCLUSION

       For the above reasons, Defendant Derrick Vincent Redd’s Motion to Reduce Sentence

Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) [Doc. 299] is GRANTED; and his sentence of 540

months, or 45 years, for his three convictions under 18 U.S.C. 924(c) is REDUCED to a total of

180 months, or 15 years, to run consecutive to his sentence of 63 months, for a total sentence of




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